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IN THE UNITED STATES DISTRICT coURFB BY-~-- -~-°'°‘
FOR THE wEsTERN DISTRICT oF TENNESS
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Wmvse,g.wuw
LAURA A. TAVERNIER, M.D., 'G.ERU,SUMCT(IJ\HT
W:DOCTN.MEW'IS
Piainciff,
v. No. 03-2423~MaP

THE UNIVERSITY OF TENNESSEE
COLLEGE OF MEDICINE, ET AL.,

Defendants.

 

ORDER GRANTING PERMISSION TO FILE REPLY
TO MEMORANDUM IN OPPOSITION TO DEFENDANTS'
MOTION FOR SUMMARY JUDGMENT

 

Before the court is the August 2, 2005, motion of defendants
University of Tennessee College of Medicine, John E. Midtling (in
his official capacity), Henry G. Herrod (in his official
capacity), Ray Walker (in his individual and official
capacities), and Nancy Maddox (in her individual and official
capacities) for leave to file a reply to plaintiff's opposition
to their motion for summary judgment. For good cause shown, the
motion is granted and defendants may file their reply.

qJL

It is so ORDERED this day of August, 2005.

jJ(//”L

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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with Rule bb and/or 79{3) FRCP on aj _i§§__

 

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This notice confirms a copy of the document docketed as number 140 in
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James M. Simpson

ALLEN SUMMERS SIMPSON LILLIE & GRESHAl\/l7 PLLC
80 Monroe Ave.

Ste. 650

1\/1emphis7 TN 38103--246

Georgia A. Robinette

FARRIS MATHEWS BRANAN BOBANGO HELLEN & DUNLAP, PLC
One Commerce Square

Ste. 2000

1\/1emphis7 TN 38103

Lisa A. Krupicka

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Jeffery A. Jarratt

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Jennifer Shorb Hagerman
BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Zachary S. Griftith

OFFICE OF THE ATTORNEY GENERAL
P.O. BOX 20207

Nashville, TN 37202--020

Eugene S. Forrester

FARRIS MATHEWS BRANAN BOBANGO HELLEN & DUNLAP, PLC
One Commerce Square

Ste. 2000

1\/1emphis7 TN 38103

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Heather Webb Fletcher

ALLEN SUMMERS SIMPSON LILLIE & GRESHAl\/l7 PLLC
80 Monroe Ave.

Ste. 650

1\/1emphis7 TN 38103--246

Honorable Samuel Mays
US DISTRICT COURT

